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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,       )
                                     )         CR. NO. S-05-443 WBS
12             Plaintiff,            )
                                     )         STIPULATION AND ORDER TO
13        v.                         )         CONTINUE STATUS CONFERENCE
                                     )         FOR ALL DEFENDANTS
14   JESUS JAVIER HUILTRON SANCHEZ, )
                                     )
15   et al,                          )
                                     )
16             Defendants.           )         Date: August 23, 2006
                                     )         Time: 9:00 a.m.
17   ________________________________)         Court: Hon. William B. Shubb

18

19            It is hereby stipulated by and between defendants Jesus

20   Javier Huiltron Sanchez, Espiridion Valdovinos Lucatero,

21   Francisco Perez Lucatero, and Narcisco Gallegos Morales, through

22   their attorneys, Peter Kmeto, Esq., Robert Forkner, Esq., Percy

23   Martinez, Esq., and Federal Defender Daniel Broderick,

24   respectively, and plaintiff United States of America, through its

25   counsel of record, Assistant United States Attorney Samuel Wong,

26   that:

27           1.   The presently scheduled status conference date of August

28   23, 2006, at 9:00 a.m., shall be vacated for all defendants and

                                           1
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 1   the case be rescheduled for further status conference on

 2   September 13, 2006 at 9:00 a.m.

 3        2.      The reason for the requested continuance of the status

 4   conference is that Mr. Kmeto, counsel for defendant Jesus Javier

 5   Huiltron Sanchez, is and will be in trial for the next two weeks

 6   and is unavailable for a status conference on August 23, 2006, as

 7   described in the accompanying Declaration of Samuel Wong.                The

 8   parties had previously anticipated that three of the four

 9   defendants, namely, Jesus Javier Huiltron Sanchez, Espiridion

10   Valdovinos Lucatero, and Francisco Perez Lucatero, would change

11   their pleas in a "package deal" that would be effected by the

12   contemporaneous guilty pleas by these three defendants.             However,

13   because of Mr. Kmeto's unavailability on August 23, 2006, the

14   package deal cannot go forward on that date.           Also, Federal

15   Defender Broderick, who represents defendant Morales, desires to

16   keep his client on the same status conference date as the

17   remaining defendants.

18        3.     Time from the date of this stipulation to, and

19   including, the proposed September 13, 2006, status conference

20   shall be excluded from computation of time within which the trial

21   of this matter must be commenced under the Speedy Trial Act

22   pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv) and Local Code

23   T-4, pertaining to continuity of defense counsel.

24

25   Dated:    August 22, 2006                 /s/ Samuel Wong
                                               ___________________________
26                                             SAMUEL WONG
                                               Assistant U.S. Attorney
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 1   Dated:    August 22, 2006                   /s/ Peter Kmeto
                                                 _____________________________
 2                                               PETER KMETO
                                                 Attorney for Defendant
 3                                               JESUS JAVIER HUILTRON SANCHEZ

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 5   Dated:    August 22, 2006                   /s/ Robert Forkner
                                                 _____________________________
 6                                               ROBERT FORKNER
                                                 Attorney for Defendant
 7                                               ESPIRIDION VALDOVINOS LUCATERO

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 9   Dated:    August 22, 2006                   /s/ Percy Martinez
                                                 ______________________________
10                                               PERCY MARTINEZ
                                                 Attorney for Defendant
11                                               FRANCISCO PEREZ LUCATERO

12

13   Dated:    August 22, 2006                   /s/ Daniel Broderick
                                                 ______________________________
14                                               DANIEL BRODERICK
                                                 FEDERAL DEFENDER
15                                               Attorney for Defendant
                                                 NARCISCO GALLEGOS MORALES
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18               _______________________________________________

19

20                                       ORDER

21

22        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it

23   is ordered that the August 23, 2006, at 9:00 a.m., status

24   conference be vacated and continued to September 13, 2006, at

25   9:00 a.m., for all defendants.        The Court finds that the ends of

26   justice to be served by granting a continuance outweigh the best

27   interests of the public and the defendants in a speedy trial.            It

28   is ordered that time from the date of this stipulation to, and

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              Case 2:05-cr-00443-WBS Document 51 Filed 08/25/06 Page 4 of 4


 1   including, the proposed September 13, 2006, status conference

 2   shall be excluded from computation of time within which the trial

 3   of this matter must be commenced under the Speedy Trial Act

 4   pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv) and Local Code

 5   T-4, pertaining to continuity of defense counsel.

 6

 7   Dated:    August 23, 2006

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